Case 24-10772-pmm          Doc 43     Filed 07/07/25 Entered 07/07/25 03:01:05            Desc Main
                                     Document      Page 1 of 3


                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 In Re:                                       Bankruptcy No. 24-10772-pmm

 CYNTHIA M. FARRIOR
     Debtor,                                        Chapter 13

 TOYOTA MOTOR CREDIT CORPRATION
     Movant,

                 v.

 CYNTHIA M. FARRIOR, and
 CHANEYA SANDRA FARRIOR, Non-Filing Co-
 Debtor, and
 KENNETH E WEST, Trustee,
      Respondents.

   MOTION FOR RELIEF AND CO-DEBTOR RELIEF FROM THE AUTOMATIC STAY

          AND NOW COMES, Movant, Toyota Motor Credit Corporation (the “Movant“), by and

through its undersigned counsel, Bernstein-Burkley, P.C., and files this Motion for Relief and

Co-Debtor Relief from the Automatic Stay (the “Motion”), representing as follows:

                                           THE PARTIES

          1.     Respondents, Cynthia M. Farrior, (“Debtor”), and Chaneya A. Sandra Farrior are adult

individuals with a place of residence located at 6517 N. Smedley Street, Philadelphia, PA 19126.

          2.     Kenneth E West is the duly appointed Chapter 13 Trustee and is currently acting in

such capacity.

                                   JURISDICTION AND VENUE

          3.     This matter is a core proceeding, and this Court has jurisdiction pursuant to 28

U.S.C. § 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. Movant seeks relief

pursuant to 11 U.S.C. § 362(d) and FRBP 4001 and 9014.

                                        FACTUAL BACKGROUND

          4.     On or about March 6, 2024, Debtor filed a voluntary petition for relief pursuant to

Chapter 13 of the Bankruptcy Code.
Case 24-10772-pmm        Doc 43     Filed 07/07/25 Entered 07/07/25 03:01:05            Desc Main
                                   Document      Page 2 of 3



       5.      On or about January 29, 2021, the Debtors, entered into a Retail Installment Sales

Contract (“Note”) with the Movant for the purchase of 2021 Toyota RAV4, VIN:

2T3G1RFV1MC151158 (the “Vehicle”) with the Movant, a true and correct copy of which is

attached hereto as Exhibit A.

       6.      Movant has a secured interest in the Vehicle, as evidenced by the Certificate of

Title attached hereto as Exhibit B.

       7.      The Note requires monthly payments of $620.89, which amounts are due on or

before the 14th of each month.

       8.      The Debtors have failed to make full monthly payments to Movant from June

2024 to date. The Debtors are $7,655.11 in post-petition payment arrears.

       9.      The total balance due on the Note as of June 18, 2025, was $23,966.11.

       10.     The J.D. Power value for the 2021 Toyota RAV4, VIN: 2T3G1RFV1MC151158

is $20,550.00. A true and correct copy of a printout showing that value is attached hereto as

Exhibit C.

       11.     Movant is entitled to relief from the automatic stay for cause due to the Debtor’s

failure to maintain their contractual obligation with the Movant as described in the Note and

making post-petition payments.

       12.     Code Section 1301 provides for a stay against collection against a co-debtor.

       13.     Movant is entitled to co-debtor relief pursuant to 11 U.S.C. § 1301(c) because (i)

Movant will be irreparably harmed if not able to pursue collection action against the Co-Debtor

for any balance of the note not paid and for repossession and sale of the Vehicle.
Case 24-10772-pmm        Doc 43    Filed 07/07/25 Entered 07/07/25 03:01:05           Desc Main
                                  Document      Page 3 of 3



       WHEREFORE, Movant, Toyota Motor Credit Corporation, respectfully requests that this

Honorable Court enter an Order, pursuant to 11 U.S.C. § 362(d), granting Movant relief from stay

with respect to 2021 Toyota RAV4, VIN: 2T3G1RFV1MC151158.


                                                    Respectfully submitted,

                                                    BERNSTEIN-BURKLEY, P.C.

                                                    By: /s/ Keri P. Ebeck
                                                    Keri P. Ebeck, Esq.
                                                    PA I.D. # 91298
                                                    kebeck@bernsteinlaw.com
                                                    601 Grant Street, 9th Floor
                                                    Pittsburgh, PA 15219
                                                    Phone (412) 456-8112
                                                    Fax: (412) 456-8135

                                                    Counsel for Toyota Motor Credit
                                                    Corporation
Dated: July 7, 2025
